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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK



CAMERON OAKES,

                                                           Civil Action No. 20-7591
                           Plaintiff,

                                                                        COMPLAINT
                v.

UNITED         STATES        DEPARTMENT           OF
DEFENSE




                            Defendant.


                               COMPLAINT FOR INJUNCTIVE RELIEF

                                          Preliminary Statement

          1.         This is an action under the Freedom of Information Act (“FOIA”) seeking the release

of agency records relating to military recruitment contracts at colleges and universities in the United

States.

          2.         Plaintiff is a freelance journalist who placed certain FOIA requests with the United

States Department of Defense in relation to an article she is researching regarding the military

recruitment process. The contracts and proposals requested by Plaintiff concern Department of Defense

agreements with third party contractors in the recruitment process, and are a critical component of her

story in showing certain aspects of that process. Without fulfillment of Plaintiff’s FOIA requests, she

will be unable to publish the final story. As best can be discerned from the agency’s response to the

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FOIA requests, it appears that the agency can easily retrieve the records and that they are well-identified

according to Plaintiff’s obligations as a FOIA requestor, but she has been met with repeated, extensive

and unlawful delay, as well as attempts to require her to re-submit requests that were well-understood by

the agency. The records must be disclosed according to the mandates of the FOIA.

                                                   Parties

       3.         Plaintiff Cameron Oakes is a freelance journalist whose works have appeared on

NBCNews.Com, Haaretz, LAND/RadioLAND (Latin America News Dispatch), NYU Local, Her

Culture Magazine, Cooper Squared, MSNBC and The Interlude. Plaintiff resides at 316 West 39th

Street, New York, NY 10018.

       4.         Defendant the United States Department of Defense (the “DOD”) is a Department of

the Executive Branch of the United States government. DOD is an agency within the meaning of 5

U.S.C. § 552(f)(1).

                                        Jurisdiction and Venue

       5.      This Court has subject matter jurisdiction over this action and personal jurisdiction over

the parties pursuant to 5 U.S.C. § 552(a)(4)(B).

       6.      Venue is proper in this district under 5 U.S.C. § 552(a)(4)(B) because Plaintiff’s

residence and principal place of business are in New York.

The DOD Fails to Timely Respond to Plaintiff’s FOIA Requests and Advise Plaintiff of her Right
                                         to Appeal


                                         Request No. 20-F-0092

       7.         On or about October 15, 2019, Plaintiff filed a FOIA request with the DOD seeking

the following documents:


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               Proposals for contracts awarded to ‘MullenLowe U.S., Inc.” by the
               Department of Defense from 2001 onwards. ‘MullenLowe U.S., Inc.’
               operates out of Boston, Massachusetts. I would like to have MullenLowe
               U.S., Inc.’s proposal for each of the following contracts: H981019F0191,
               H9821018F0187, H9821019F0118, H9821018F0169, H9821018F0061,
               H9821019F0115, H9821019F0262, H9821018F0060, H982101170063,
               H9821019F0018, H9821017F0064, H9821017F0148, H9821017F0147,
               H9821018F0175, H98210117F0085, H9821019F0265, H9821018F0145,
               H9821019F0222, H9821017F0102, H9821017F0062, H9821018F0125,
               H9821017F0156. I would also like any proposals, pitches, or memos from
               MullenLowe U.S., Inc. related to contract modifications for the above
               contracts, including but not limited to contract modification numbers:
               0001-0086.

       8.         On October 22, 2019 the DOD wrote to respond to Plaintiff’s FOIA request and

assigned the Request number 20-F-0092.        The DOD responded that it would be unable to respond

within the 20 day statutory time period of FOIA, claiming that the “unusual circumstances” set forth in 5

U.S.C. § 552 (a)(6)(B) existed. However, the response did not indicate that a response would be

provided within the 10-day period set forth in subsection (i) thereof, and did not advise that a longer

period would be required pursuant to subsection (ii) thereof.

       9.      The DOD did not advise Plaintiff of her right to appeal its response. The DOD did not

set forth a date on which a determination on whether to comply with Plaintiff’s request would be

reached. See Exh. A (Request 20-F-0092 and response).

       10.        In the some 9 months since its October 22, 2019 response the DOD has provided no

further response or updates to Plaintiff.

       11.        The DOD claimed that the “unusual circumstances” presented by Plaintiff’s request

were the following: “(a) the need to search for and collect records from a facility geographically

separated from this office; (b) the potential volume of records responsive to your request; and (c) the

need for consultation with one or more agencies or DOD components having a substantial interest in


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either the determination or the subject matter of the records.”

       12.        Upon information and belief, Plaintiff’s Request No. 20-F-0092 did not present

unusual circumstances that would justify the extensive delay of the DOD of more than 9 months in

responding to the request (which amounts to an indefinitely delayed response).       Although it is an

element of “unusual circumstances,” the forwarding of a request to the component of the DOD that

maintains the records is a required practice per the DOD’s FOIA regulations, and nothing exceptional to

justify more than 9 months of delay. 32 CFR 286.7(c). Seeking consultation and/or referral of the

request from the component agency is also a required practice, and would not justify a more than 9

month delay. 32 CFR 286.7(d).

       13.        Most importantly, Request No. 20-F-0092 sought proposals associated with some 22

discretely specified contracts, which are not voluminous. Given the similar subject matter of the

records, a lengthy consultation and/or referral deliberation within the agency of more than 9 months is

not supported.

                                         Request No. 20-F-1051

       14.        On April 28, 2020, Plaintiff filed a FOIA request with the DOD seeking the following

documents: “Access to and copies of all Department of Defense contracts, subcontracts, or purchase

receipts with ‘Equifax Data Services, Inc.’ from 2001 onwards. ‘Equifax Data Services, Inc.’ operates

out of Wakefield, M.A.”

       15.         On May 5, 2020, the DOD wrote to respond to Plaintiff’s FOIA request, assigning it

number 20-F-1051. The DOD responded that it would be unable to respond within the 20 day statutory

time period of FOIA, claiming that the “unusual circumstances” set forth in 5 U.S.C. § 552 (a)(6)(B)

existed. However, the response did not indicate that a response would be provided within the 10-day


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period set forth in subsection (i) thereof, and did not advise that a longer period would be required

pursuant to subsection (ii) thereof.

       16.         The DOD did not advise Plaintiff of her right to appeal its response. The DOD did

not set forth a date on which a determination on whether to comply with Plaintiff’s request would be

reached. See Exh. B (Request 20-F-1051 and response).

       17.         On May 28, 2020, Plaintiff received a further response to Request No. 20-F-1051 in

an e-mail from the DOD. The e-mail advised Plaintiff that while certain of the documents could be

fulfilled by the DOD component she had requested the records from, she was requested to break those

requests down to 2 or 3 new requests to process the requests quicker. The e-mail also advised that

numerous requests sought contracts from other DOD components, and stated that Plaintiff would need to

request the contracts directly from each component agency. The response contained a spreadsheet

identifying each contract responsive to Plaintiff’s request, comprising 110 contracts. See Exh. C (May

28, 2020 response to Request No. 20-F-1051).

       18.         Upon information and belief, no “unusual circumstances” exist to deny access to

FOIA Request No. 20-F-1051, and indeed, the DOD’s provision of a spreadsheet identifying each and

every responsive contract and its location within a specific DOD component demonstrates that the

elements of “unusual circumstances” - which are burdensome searching, collection and consultation

over responsive records - are not raised at all here.

       19.         The procedures set forth in the May 28, 2020 response of the DOD violate its own

FOIA procedures as set forth in its regulations. As noted, the DOD is required to forward requests to the

component agency that possesses the records to thereby retrieve the records – its regulations do not

permit it to force a request to interpolate the information. 32 CFR 286.7(c)-(d). Further, the invitation


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for Plaintiff to break the requests into pieces was a further unnecessary foisting of interpolative work on

Plaintiff, as the DOD’s regulations already permit it to disclose records on “rolling” basis. 32 CFR

286.9(c).

       20.        The demand that Plaintiff perform additional interpolative work with respect to

Request No. 20-F-1051, and that Plaintiff place multiple additional requests in response to her

straightforward and non-complex FOIA request amounted to a denial of access.

             Three Additional Requests Placed to the DOD Were Received No Response

       21.     Plaintiff also placed three closely related, but distinct FOIA Requests in October 2019

that the Department to which the DOD has not yet responded.

       22.     On October 10, 2019 Plaintiff submitted a FOIA request to the DOD for “a full copy of

all contracts awarded to ‘Fors Marsh Group LLC’ by the Department of Defense from 2001 onwards.

‘Fors Marsh Group LLC’ operates out of Arlington, Virginia. The DoD lists several summaries of

million-dollar contracts on its website, but I would like each of the full contracts (including but not

limited to contracts: H98210-15-D-0001 (and its fixed-price modifications), N00178-16-D-8518 thru

N00178-16-D-9125, and W52P1J-15-F-5022). I would also like any Fors Marsh Group LLC contracts

that did not meet the $7 million dollar requirement necessary to be reported on the DoD website.” See

Exh. D.

       23.     On October 10, 2019, Plaintiff submitted a FOIA request to the DOD for “copies of all

proposals for the Department of Defense contracts from to “Fors Marsh Group LLC” from 2001

onwards.     ‘Fors Marsh Group LLC’ operates out of Arlington, Virginia.          The DoD lists several

summaries of million-dollar contracts on its website. I would like to have proposals including but not

limited to for contracts (later awarded): H98210-15-D-0001 (and its fixed price modifications), N00178-


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16-D-8518 thru N00178-16-D-9125, and W52P1J-15-F-5022. I would also like any Fors Marsh Group

LLC proposals that did not meet the $7 million dollar requirement necessary to be reported on the DoD

website.” See Exh. E. Upon information and belief, based on certain correspondence with the DOD,

this FOIA request was assigned the tracking number 20-F-0077, however, no formal response was

provided.

       24.     On October 15, 2019, Plaintiff submitted a FOIA request to the DOD for “all contracts

awarded to ‘MullenLowe U.S., Inc.’ by the Department of Defense from 2001 onwards. ‘MullenLowe

U.S., Inc.’ operates out of Boston, Massachusetts. I would like to have each of the following contracts:

H9821019F0191 H9821018F0187 H9821019F0118 H9821018F0169 H9821018F0061 H9821019F0115

H9821019F0262 H9821018F0060 H9821017F0063 H9821019F0018 H9821019F0018 F9821017F0064

H9821017F0148 H9821017F0147 H9821018F0175 H9821017F0085 H9821019F0265 H9821018F0145

H9821019F0222 H9821017F0102 H9821017F0062 H9821018F0125 H9821017F0156. I would also

like all contract modifications for the above contracts, including but not limited to contract modification

numbers: 0001-0086.” See Exh. F.

       25.     For each of the above-referenced FOIA requests set forth in paragraphs 20-22 herein, the

DOD has not provided any written response.

     The DOD Has Unlawfully Denied Access to the Documents Sought in all of Plaintiffs Five
                                        Requests

       26.        Under FOIA’s provisions, 5 U.S.C. 552(a)(6)(A), an agency must notify a requester

within 20 working days of their request of the determination of whether to comply, unless “unusual

circumstances” exist pursuant to 5. U.S.C. § 552(a)(6)(B).          However, even assuming “unusual

circumstances” exist (and upon information and belief, they do not for these requests), the response must

set forth “the date on which a determination is expected to be dispatched.”      The same is required by

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DOD regulations. 32 CFR § 286.8(c). In violation of those requirements, none of the DOD’s responses

claiming “unusual circumstances” provided a date on which a determination would be reached.

       27.        The DOD has denied access to the records requested by Plaintiff in Requests Nos. 20-

F-0092 and 20-F-1051, as well as the three FOIA requests placed in October 2019, by failing to respond

within the statutory and regulatory time period and failing to respond in the required manner set forth

above, without justification, and in imposing extensive delay as well as other hurdles to access. What is

more, as to Request No. 20-F-0092, the DOD has failed to respond over a period of more than 9 months.

       28.        Upon information and belief, the DOD has not performed an adequate search for

records responsive to Plaintiff in Requests Nos. 20-F-0092 and 20-F-1051. As its own responses appear

indicate, the records are readily obtainable by searching DOD databases.

       29.        Upon information and belief, none of the records requested by Plaintiff are exempt,

and to the extent such records are exempt as trade secrets, her requested advised that the material would

be accepted with redactions as to such confidential or exempt information.

       30.        As a result of the DOD’s failure to advise Plaintiff of her right to appeal Requests

Nos. 20-F-0092 and 20-F-1051, Plaintiff is deemed to have exhausted her administrative remedies.

       31.        Plaintiff has brought this litigation to ask the Court to require the DOD to disclose the

requested documents.

                           Plaintiff is a Journalist Entitled to a Fee Waiver

       32.        Plaintiff requested a fee waiver in connection to Requests Nos. 20-F-0092 and 20-F-

1051 an her other requests that were not assigned a tracking number, pursuant to 5 U.S.C. §

552(a)(4)(A)(ii)(II) as a “representative of the news media.” As noted, Plaintiff is a journalist who is

published in major outlets and meets the requirements of this provision. She gathers information of


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potential interest to the public, uses editorial skill to turn that information into unique journalistic works,

and distributes her work to a public audience.

        33.         The records sought in these Requests will substantially contribute to the public

understanding of military recruitment on college campuses and the intended use of the records is of bona

fide journalistic and public interest.

                                              Causes of Action

        34.         Plaintiff repeats and reincorporates paragraphs 1-33 of the Complaint, as if fully set

forth herein.

        35.         Defendant’s failure to timely respond to Plaintiff’s requests violates the FOIA, 5

U.S.C. § 552(a)(6)(A)(i), 5 U.S.C. § 552(a)(6)(B), and the DOD’s regulations 32 CFR § 286.8(c).

        36.         Defendant’s demand that Plaintiff interpolate, divide and re-submit request to various

DOD agency components violates DOD regulation 32 CFR § 286.7(c) concerning the role of the DOD

in processing FOIA requests.

        37.         Defendant’s failure to make a reasonable effort to search for records responsive to

Plaintiff’s request violates the FOIA, 5 U.S.C. § 552(a)(3)(C).

        38.         Defendant’s wrongful withholding of non-exempt responsive material violates FOIA,

5 U.S.C. § 552(a)(3)(A).

        WHEREFORE, Plaintiff seeks and Order of this Court:

              a. Ordering Defendant to immediately process all requested records;

              b. Ordering Defendant to conduct a thorough search for all responsive records;

              c. Ordering Defendant to promptly disclose the requested records in their entirety, or else

                 redacted to the extent necessary to remove exempt information, and make copies


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             available to Plaintiff;

          d. Enjoining Defendant from charging Plaintiff fees for the processing of the requests;

          e. Award Plaintiff its costs and reasonable attorneys’ fees incurred in this action pursuant to

             5 U.S.C. § 552(a)(4)(E);

          f. Such other relief as the Court deems just and proper.



                                            Respectfully submitted,

                                            ZAZZALI, FAGELLA, NOWAK
                                             KLEINBAUM & FRIEDMAN
                                            Attorneys for the Plaintiff


Dated: September 16, 2020                   By:    _/s/ Kenneth I. Nowak
                                                    Kenneth I. Nowak, Esq.




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